                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE


Aaron Solomon
                                 Plaintiff,
v.                                                      Case No.: 3:21−cv−00498

Angelia Solomon, et al.
                                 Defendant,

                               ENTRY OF JUDGMENT

        Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on 3/1/2022 re [43].


                                                                            Lynda M. Hill
                                                         s/ Brandon Skolnik, Deputy Clerk




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